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                UNITED STATES DISTRICT COURT

                SOUTHERN DISTRICT OF GEORGIA

                       STATESBORO DIVISION
LEROY BETHEL,

      Movant,

u                                        Case No. CV612-082
                                                   CR696-004
UNITED STATES OF AMERICA,

      Respondent.


                REPORT AND RECOMMENDATION

      Leroy Bethel has submitted for filing his second 28 U.S.C. § 2255

motion, again attacking his 1996 conviction and 360-month sentence for

participating in a drug conspiracy. (Doc. 1); see United States v.

Summersett, No. CR696-004 (S.D. Ga. filed Mar. 8, 1996); Bethel v. United

States, No. CV600-137 (S.D. Ga. July 18, 2001) (first § 2255 motion).
Since this is a successive motion, Bethel must first "move in the

appropriate court of appeals for an order authorizing the district court to

consider the application." 28 U.S.C. § 2244(b)(3)(A); see 28 U.S.C. §

2255(h) (cross-referencing § 2244 certification requirement). In fact, this

Court must dismiss second or successive petitions, without awaiting any

response from the government, absent prior approval by the court of
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appeals. Levert v. United States, 280 F. App'x 936, 936 (11th Cir. 2008)

(per curiam) ("Without authorization, the district court lacks jurisdiction
to consider a second or successive petition."); Hill v. Hopper, 112 F.3d
1088, 1089 (11th Cir. 1997) (same); In re Medina, 109 F.3d 1556, 1561
(11th Cir. 1997); Nunez v. United States, 96 F.3d 990, 991 (7th Cir.

1996).'
      Because Bethel has filed this latest § 2255 motion without prior
Eleventh Circuit approval, this Court is without jurisdiction to consider it.
Consequently, it should be DISMISSED as successive. Applying the

Certificate of Appealability ("COA") standards set forth in Brown v.
United States, 2009 WL 307872 at * 1-2 (S.D. Ga. Feb. 9, 2009)
(unpublished), the Court discerns no COA-worthy issues at this stage of
the litigation, so no COA should issue. 28 U.S.C. § 2253(c)(1); see
       1 Bethel insists that his motion is not successive. He relies upon authority
from the United States Supreme Court, specifically Dorsey v. United States, 567 U.S.
      132 S. Ct. 2321 (2012), which was not available at the time of his original
petition. (Doe. 1 at 3-9.) Nevertheless, his claim does not fall within the four corners
of that case. In Dorsey, the Supreme Court held that the Fair Sentencing Act of 2010,
which lessened the penalties for crimes involving crack cocaine, applied to offenders
whose crimes preceded the effective date of the act but were sentenced after that
date. Dorsey, 132 S. Ct. at 2335 Bethel, however, was sentenced long before the Act
went into effect. He thus seeks an extension of Supreme Court precedent. His
underlying claim -- that those sentenced long before the Fair Sentencing Act went
into effect should still benefit from its changes to the law -- is not yet ripe. Bethel's
motion remains successive. See Stewart v. United States, 646 F.3d 856, 863-64 (11th
Cir. 2011) (where the defect ripened after conclusion of the previous petition, the
later petition based on that defect may be non-successive).
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Alexander v. Johnson, 211 F.3d 895, 898 (5th Cir. 2000) (approving sua

sponte denial of COA before movant filed a notice of appeal). And, as

there are no non-frivolous issues to raise on appeal, an appeal would not
be taken in good faith. Thus, in forma pauperis status on appeal should

likewise be DENIED. 28 US.C. § 1915(a)(3).
     SO REPORTED AND RECOMMENDED this                               day of

September, 2012.


                                  UNITED     ES MAGISTRATE JUDGE
                                  SOUTHERN DISTRICT OF GEORGIA




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